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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF FLORIDA
                                     Case No. 1:22-cv-24066-KMM
   GRACE, INC., et al.,

          Plaintiﬀs,

   v.

   CITY OF MIAMI,

          Defendant.
                                      /

                          PLAINTIFFS’ SUPPLEMENTAL EXHIBIT LIST

          Pursuant to the Court’s and Parties’ discussion at the Pretrial Conference regarding the

   admission of Plaintiﬀs’ expert reports, Plaintiﬀs ﬁle this supplemental list of trial exhibits:

            Plfs.’ Tr. Ex.                  Description                  Obj. Codes
                 119              Expert Report of Dr. Bryant Moy
                 120       Curriculum Vitae of Bryant Moy, Aug. 25, 2023
                 121             Expert Report of Dr. Carolyn Abott
                 122             Expert Report of Dr. Cory McCartan

   Respectfully submitted January 27, 2024,

   /s/ Nicholas L.V. Warren

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